

ORDER

PER CURIAM:
AND NOW, this 17th day of November, 2000, there having been filed with this Court by Robert McAndrew, Jr., his verified Statement of Resignation dated October 11, 2000, stating that he desires to resign from the Bar of the Commonwealth *359of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Robert McAndrew, Jr., be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
